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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

       Plaintiff,
                                                            Hon. Robert J. Jonker
 v.
                                                            Case No. 1:18-cr-00079
 JAMEL TYREE SIMMONS,

       Defendant.
 ________________________________/
                                       ORDER


      This matter is before the Court on the government’ motion for pretrial

detention. The government sought defendant Jamel Tyree Simmons’ detention on

the basis of that he poses a danger to the community, 18 U.S.C. § 1342(f)(1), and

that he poses a significant risk of flight, 18 U.S.C. § 3142(f)(2)(A). The Court

conducted an evidentiary hearing on April 17, 2018, at which defendant was

represented by counsel.

      Having considered the evidence presented at the hearing, the parties’ oral

submissions, and the information in the Pretrial Services Report, and for the

reasons stated on the record, the Court finds that the government has met its

burden of establishing by preponderant evidence that defendant poses a significant

risk of flight and has proven by clear and convincing evidence that defendant poses

a danger to the community. The Court finds, as explained on the record, that there
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is no condition or combination of conditions that will assure the safety of the

community.

      Accordingly, IT IS ORDERED that defendant is committed to the custody of

the Attorney General pending trial.

      DONE AND ORDERED on April 17, 2018.




                                                /s/ Phillip J. Green
                                               PHILLIP J. GREEN
                                               United States Magistrate Judge




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